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 7

 8                          IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10
                                                 CASE NO. 1:14-CR-00148-LJO
11   UNITED STATES OF AMERICA,
                                                 PRELIMINARY ORDER OF FORFEITURE
12                                  Plaintiff,

13                           v.

14   JUAN ANGEL LOPEZ,

15                                  Defendant.

16

17
           Based on the plea agreement entered between Plaintiff United States of America
18
     and defendant Juan Angel Lopez, it is hereby ORDERED, ADJUDGED, AND DECREED
19
     as follows:
20
           1. Pursuant to 21 U.S.C. § 853, defendant Juan Angel Lopez’ interest in the
21
     following property shall be condemned and forfeited to the United States, to be disposed of
22
     according to law:
23
               a. Approximately $14,004.00 in U.S. Currency;
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               b. Glock, model 19, 9mm semi-automatic pistol, serial number LYZ031; and
25
               c. RG Industries, Model 31, .32 caliber revolver serial number 0087471.
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           2. The above-listed property constitutes property that is proceeds obtained or
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     property that was used or intended to be used in any manner or part to commit violations
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      Preliminary Order of Forfeiture             1
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 1 of 21 U.S.C. §§ 841(a)(1) and 846.

 2         3. Pursuant to Rule 32.2(b), the Attorney General (or designee) shall be authorized

 3 to seize the above-listed property. The aforementioned property shall be seized and held

 4 by the United States Marshals Service in their secure custody and control.

 5         4. a. Pursuant to 21 U.S.C. § 853(n) and Local Rule 171, the United States shall

 6 publish notice of the Order of Forfeiture. Notice of this Order and notice of the Attorney

 7 General’s (or designee’s) intent to dispose of the property in such a manner as the

 8 Attorney General may direct shall be posted for at least 30 consecutive days on the office

 9 internet government forfeiture site www.forfeiture.gov. The United States may also, to

10 the extent practicable, provide direct written notice to any person known to have alleged

11 an interest in the property that is the subject of the Order of Forfeiture as a substitute for

12 published notice as to those persons so notified.

13              b. This notice shall state that any person, other than the defendant, asserting

14 a legal interest in the above-listed property, must file a petition with the Court within

15 sixty (60) days from the first day of publication of the Notice of Forfeiture posted on the

16 official government forfeiture site, or within thirty (30) days from receipt of direct notice,

17 whichever is earlier.

18         5.     If a petition is filed, upon adjudication of all third-party interests, if any, this

19 Court will enter a Final Order of Forfeiture pursuant to 21 U.S.C. §853, in which all

20 interests will be addressed.

21
     IT IS SO ORDERED.
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23     Dated:    December 10, 2014                      /s/ Lawrence J. O’Neill
                                                  UNITED STATES DISTRICT JUDGE
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      Preliminary Order of Forfeiture               2
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